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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  CITY OF SOUTH MIAMI, et al.

         Plaintiffs,

  v.                                                     CASE NO. 1:19-cv-22927-BB

  RON DESANTIS, IN HIS OFFICIAL
  CAPACITY AS GOVERNOR OF THE
  STATE OF FLORIDA, et al.

        Defendants.
  __________________________________/


           PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
         TO FILE A MOTION FOR ATTORNEYS’ FEES, COSTS AND EXPENSES,
                        AND TO FILE A BILL OF COSTS

         Plaintiffs, through undersigned counsel, and pursuant to Fed.R.Civ.P. 6(b) and 54(d), and

  S.D. Local Rule 7.3, move this court for an Order extending the deadline to file a motion for

  attorneys’ fees, costs, and expenses, and to file a Bill of Costs, until 30 days after any appeal or

  other appellate challenge is resolved. In support, Plaintiffs state the following:

         1. On September 21, 2021, this court entered findings of fact and conclusions of law in this

  matter in favor of Plaintiffs, entered a permanent injunction, and ordered this matter be closed by

  the clerk. ECF No. 201. The final judgment was docketed the next day, but notes a signature date

  of September 21, 2021. ECF No. 202.

         2. According to S.D. Local Rule 7.3(a), a party must file and serve a motion for attorneys’

  fees within 60 days of final judgment. According to Local Rule 7.3(c), that party must file and

  serve a bill of costs within 30 days of final judgment. Local Rule 7.3 also outlines intermediate

  deadlines for serving drafts and for conferring.

         3. Counsel for Defendants have informed counsel for Plaintiffs that Defendants intend to



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  appeal this action.

         4. In the interests of time and efficiency and to promote judicial economy, Plaintiffs seek

  to extend the deadline for moving for attorneys’ fees, costs and expenses, and for filing a Bill of

  Costs, until after the appeal process is at a conclusion. Once concluded, any motions for attorneys’

  fees and costs, as well as a Bill of Costs, will be filed no later than 30 days thereafter.

         5. Counsel for Plaintiffs has conferred with Counsel for Defendants, who are unopposed to

  the relief sought in this Motion.

         WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that this Court

  enter an Order extending the deadline for moving for an award of attorneys’ fees and costs and to

  file a Bill of Costs until the conclusion of the appellate process.

                                CERTIFICATE OF CONFERENCE

         PURSUANT TO Local Rule 7.1, Counsel for Plaintiffs has conferred with Counsel for

  Defendants, and Defendants do not oppose the relief sought in this Motion.



  Date: October 1, 2021                                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was served via

  the U.S. District Court for the Southern District of Florida’s electronic filing system on October 1,

  2021, on counsel for Defendants listed in the attached service list.

                                                        /s/ Miriam Haskell
                                                        Miriam Haskell




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